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UNITED STATES BANKRUPTCY COURT

MIDDLE DISTRICT OF LOUISIANA

IN RE: GUIDRY, PHILIP & DEBBIE CASE NO. 18-10677

DEBTOR(S) Cl-IAP'I`ER 7

CERTIFICATE OF SERVICE

 

The undersigned certifies that a copy of the Notice of Assets has been mailed to all parties
listed on the attached mailing matrix and to the U.S. Trustee, Texaco Center, Suite 2110, 400
Poydras Street, New Orleans, Louisiana 70130, by placing a copy of same in the United States
mail, first class, postage prepaid and properly addressed on this Z"d day of August ,
2018.

s/Arnanda Boothe

Case 18-10677

Label Matrix for local noticing
053N-3

Case 18-10677

Hiddle District of Louisiana
Baton Rouge

Thu Aug 2 13:49:59 CDT 2018

Capital One

Attn: Bankruptcy

Po ch 30285

Salt Lake City, UT 84130-0285

Capital One, N.A.
P. 0. Box 105385
Atlanta, GA 30348~5385

Chase Card Services
Correspondence Dept

Po Box 15298

Wilmington, DE 19850-5298

City of Plaquemine Light & Water
P. O. Box 777
Plaquemine, LA 70765-0777

District Counsel

Internal Revenue Service
PO Box 30509

Nev Orleans, LA 70190-0509

Eatel
P. 0. Box 880
Gonzales, LA 70707-0880

Fire Tech
P. 0. Box 513
Port Allan, LA 70767-0513

LA Dept. of Revenua
PO on 3440
Baton Rouge, LA 70821-3440

MG Rentals/Mary Sue Gulotta
24020 Eden St.
Plaquemine, LA 70764-3320

Armentor & Associates
12605 S. Harells Ferry Rd.
Baton Rouge, LA 70816-2563

Capital Dne
P. 0. Box 60599
City of Industry, CA 91716-0599

Chase
P.O. Box 15123
Wilmington, DE 19850-5123

Chavy Chase Fed Sav Ba
Capital One/ATTN: Bankruptcy
P. 0. Box 30285

Salt Lake City, UT 84130-0285

Discover
PO on 71084
Charlotte, NC 28272»1084

Doerle

113 Kol Dr.

P. O. Box 1440
Broussard, LA 70518-1440

Essential Federal Credit Union
P. 0. Box 91001
Baton Rouge, LA 70821-9001

Heartland Payment
One Heartland Way
Jeffersonville, IN 47130-5870

Louisiana Department of Revenue
P.O. Box 3138
Baton Rouge, LA 70821-3138

Macy's
P. 0. Box 9001094
Louisville, KY 40290-1094

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Ascentium Capital
P. 0. Box 301593
Dallas, TX 75303-£593

Capital Ona Bank
PO Box 60599
City of Industry, CA 91716-0599

Chase Card Hember Services
P. 0. Box 6294
Carol St:eam, IL 60197-6294

Citizen's Bank & Trust
P. 0. Box 659
Plaquemine, LA 70765-0659

Discovar Financial
Po Box 3025
New Albany, OE 43054-3025

Eagle Refrige:ation
6220 Holly Field Dr.
Baton Rouge, LA 70809-4242

Evergreen Financial Services, Inc.
58725 Belleview Road, Suite D-i
Plaquemine, LA 70764-3948

(p)IHTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 1346

PHILADELPHIA PA 19101-7346

Louisiana Depa:tment of Revenue
PO Box 66658
Baton Rouge, LA 70896-6658

New Penn Financial

cfc Shellpoint Hortgage Servicing
PD Box 740039

Cincinnati, OH 45274-0039

Case 18-10677

0ffice of U.S. Attorney
Hiddle District of Louisiana
777 Florida Street, Ste 208
Bston Rouge, LA 70001-1717

Parish of Iberville
90 Box 355
Plaquemine, LA 70755-0355

Radio America
P. 0. Box 3307
Oak Park, IL 50303-3307

Visa Dept Store National Bank/Macy’s
Attn: Bankruptcy

Po Box 8053

Hason, OH 45040-8053

Greg Gouner

11750 Bricksome

Ste. C

Baton Rouge, LA 70816-5332

0ffioe of the U.S. Trustee

Region V, Texaco Center, Ste. 2110
400 Poydras Street

New Orleans, LA 70130-3230

Plaquemine Bank 5 Trust
P. 0. BOx 626
Plaquemine, LA 70765-0625

U.S. Trustee

400 Poydras Street

Suite 2110

New Orleans, LA 70130-3238

Wishing Well Foundation
F. 0. Bax 1554
Marrero, LA 70073-1554

Martin A. Schott
7922-B Wrenwood Blvd.
Baton Rouge, LA 70809~1785

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Parish of Iberville
P. 0. Drawer 231
Plaquemine, LA 70765~0231

Police Oficer Association
1029 Hwy. 5 N., Ste. 650”119
Boustonr TX 77079-1043

(p)us assn
90 Box 5229
crNcrNNArr ou 45201-5229

Debbie Tregre Guidry
24005 Baist Street
Plsquemine, LA 70754-3247

Philip Fredric Guidry
24006 Baist Street
Flaquemine, LA 70764-3247

The preferred mailing address {p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 [g)(d).

Internal Revenue Service
1555 Poydras Street, Ste 220
Stop 31

Nsw Orleans, LA 70112

05 Bank
P. O. Box 790179
Saint Leuis, MO 63179-0179

(d)Us Bank
Pobox 5229
Cinoinnati, OH 45201

The following recipients may he/have been bypassed for notice due to an undeliverable lu) or duplicate [d} address.

(d)Internal Revenue Service
Centralized Insolvency Operations
P.O. Box 7346

Philadelphia, PA 19101~7346

(d)Plaquemine Bsnk § Ti'ust
P. 0. Box 626
Plaquemine, LA 70765-0626

ind of Label Hatrix

Mailable recipients 44
Bypassed recipients 2
Total 46

